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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

EVAL CESAIRE,

       Plaintiff,

v.                                                          Case No.: 6:15-cv-01886-JA-DAB

MEDICAL SERVICES, INC.,

       Defendant.

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                           NOTICE OF PENDING SETTLEMENT


       PLAINTIFF, EVAL CESAIRE, by and through his undersigned counsel, hereby submits

this Notice of Pending Settlement and states that Plaintiff, EVAL CESAIRE, and Defendant,

MEDICAL SERVICES, INC., have reached a settlement with regard to this case and are presently

drafting, finalizing, and executing the settlement and dismissal documents. Upon execution of

same, the parties will file the appropriate dismissal documents with the Court.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 1st day of December, 2016, the foregoing was served

using the CM/ECF system, which will provide electronic notice of filing to all counsel of record.

                                                /s/ Amanda J. Allen
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